      Case 2:20-cv-01513-DWL Document 41 Filed 05/07/21 Page 1 of 2



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10
11                              UNITED STATES DISTRICT COURT
12                                     DISTRICT OF ARIZONA
13
      Valerie Valle, et al.                          No. 2:20-cv-01513-DWL
14
                              Plaintiffs,
15                                                   JOINT NOTICE OF SETTLEMENT
      v.
16
      B & R Enterprises, LLC d/b/a Bikini
17    Beans, et al.,
18                            Defendants.
19
20
            The parties hereby advise the Court that all claims for all parties in this matter have
21
     been resolved through settlement, subject to Court approval, at the mediation held on April
22
23   26, 2021. The Parties anticipate that a Motion for Preliminary Court Approval of the
24   Collective and Class Action Settlement will be filed within 30 days, and respectfully
25
     request that this matter remain stayed pending the documentation of their settlement.
26
            RESPECTFULLY SUBMITTED the 7th day of May, 2021.
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       Case 2:20-cv-01513-DWL Document 41 Filed 05/07/21 Page 2 of 2




 1                                            BENDAU & BENDAU PLLC
 2
                                              /s/ Clifford P. Bendau, II (with permission)
 3                                            Clifford P. Bendau, II
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 5                                            SPENCER FANE LLP
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                                              /s/ Helen R. Holden
 7                                            Helen R. Holden
                                              Attorney for Defendants
 8
 9
10
11                               CERTIFICATE OF SERVICE
12         I hereby certify that on May 7, 2021, I electronically transmitted the attached
13 document to the Clerk’s Office using the ECF System for filing and transmittal of a Notice
14 of Electronic Filing to the following ECF registrants:
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     s/ Terri J. Hartloff
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